               ,._   ,,           Case 2:12-cv-06867-WB
      From KOHN, SWIFT I. GRAF, Fax. 12152381968   To.  Document 374
                                                                 Fax (2&7)Filed
                                                                           299 509911/20/19 Page
                                                                                             Page4 of 1
                                                                                                      8 of 511/18/2019 4 25 PM


...     'ii-




                                                  IN THE UNITED ST ATES DISTRICT COL"RT
                                               FOR THE EASTER~ DISTRICT OF PENNSYLV AmA




                          DARYOUSH TAHA Ind1v1dually and on                  CIVIL ACTION NO 12-06867
                          behalf of all others srrmlarly situated,

                                                   Plamuff,

                                         V


                          BCCKS COIB,1Y et al,                               CLASS ACTION

                                                   Defendants                                                                    ~~.~
                                                                                                                                            '".~'
                                                                                                                                           .......
                                                                                                                                 ~.... ... ""
                                                                                                                                   ,,.;:,




                                                                AME:SDED JUDGME'.'iT

                                  This class action concluded with a jury verdict on May 28, 2019.

                          [Dkt.338], is attached as Exhibit 1. Pursuant to Federal Rules of Civil Procedure 23, 54,

                          and 60, the Court now enters this Amended Judgment on behalf of the Class, and it is

                          ORDERED and ADJl:DGED that:

                                  1.     E_xhibit 2, filed under seal, identifies the class members to whom Rule 23(cX2)

                          notice was directed, who have not requested exclusion, have not passed away as of the date

                          of this Judgment, and whom the Court finds to be members of the Class. Pursuant to this

                          Court's May 4, 2016 Order (0kt. No. 158), the Certified Class consists of the following

                          individuals:

                                  ALL PERSONS WHOSE CRIMINAL HISTORY RECORD INFORMATION

                          WAS MADE AVAILABLE ON THE BCCKS COUNTY CORRECTIONAL FACILITY

                          INMATE LOOKUP TOOL BEFORE JCNE 18, 2013 (TIIE "CLASS").

                                  2.     Consistent with the jury's verdict, each member of the Class shall recover

                          from Defendants the amount of $1,000.00 in punitive damages under the Pennsylvania

                          Criminal History Records Information Act.

                          {00205066}
    From: KOHr-.1, SWIFT   t.        Case 2:12-cv-06867-WB
                                GRAF, Fax~ 12152381!168
                                                     To    DocumentFilX
                                                                    374 (267) Filed
                                                                              299-5099 11/20/19 Page
                                                                                                  Page
                                                                                                     5 of 82 of 11/18/2019
                                                                                                                5          4 25 PM


'     '


                                   3.        Class Members are entitled to post-judgment interest on the jury's award at

                    the rate established in 28 V.S.C. § 1961 and such interest shall accrue from the date of

                    the Court's initial entry of judgment on July 2, 2019 [Dkt. 350).

                                   4.        Taha will defer filing a petition for the award of counsel fees and non-

                    taxable expenses pursuant to Fed.R.Civ.P. 23, Fed. R.Civ. P. 54(d)(2), and I 8

                    Pa.C.S.§ 9I 83(b)(2), and any bill of costs pursuant to Fed.R.Civ.P. 54(dX I), until the

                    Defendants' pending appeal to the Third Circmt Court of Appeals is resolved (including

                    the resolution of any remand proceedings ordered by the Court of Appeals).

                                   5.                                                                                   '
                                             All issues and disputes regarding claims administration and distrib'qtion are

                    deferred until the conclusion of the Defendants' appeal. The disbursement of any funds

                    to any class member, including Plaintiff, is stayed pending the completion of the

                    Defendants' appeal.

                                   6.        Execution or enforcement of this Amended Judgment, and any proceedings

                    to enforce the Judgment, are stayed until after the conclusion of the Defendants' appeal

                    and, consistent with F.R.Civ.P. 62(f), 42 Pa. C.S. § § 4303, 4305, and Pa. R.App. P.

                    I 736(a), the Defendants are not required to post a supersedeas bond.

                                   7.         The Court finds, pursuant to Rule 54(b) of the Federal Rules of Civil

                    Procedure, that Final Judgment should be entered forthwith and that there is no just




                    {00205066}                                              2
     - ,.                 Case 2:12-cv-06867-WB
From KOHN, SWIFT It GRAF, Fax: 1215231119611
                                          To    Document Fax
                                                         374(267) Filed
                                                                  299-509911/20/19 Page.
                                                                                    Page 6 of II3 of 5
                                                                                                     111111/2019 4 25 PM




               reason for delay in the entry of the Judgment.




                         IT IS SO ORDERED.

                         Dated:~_{/'"          JJt'!_. , 2019




                                                                WE~DY BEETLESTO~E. J




                                                                                      flM)    NQV 11 2019




                {00205066}                                        3
                        Case 2:12-cv-06867-WB
From. KOHN, SWIFT A GRAF, Fax: 12152381968
                                         To   Document 374     Filed
                                                       Fax (267)        11/20/19 Page.
                                                                 299·5099        Page  7 of4S of 511/18/2019 4 25 PM
     -"   ..




                                                    Exhibit 1
                                                  Verdict Sheet




                           {00205066}                                 4
                          Case 2:12-cv-06867-WB
 From KOHN, SWIFT It GRAF, Fax: 1215231196!1
                                          To    Document fil)(
                                                         374(267)Filed
                                                                 299-509911/20/19 Page:
                                                                                   Page ll of I5 of 5
                                                                                                    11/111/2019 4. 25 PM


...



                                                      Exhibit 2
                                               List of Class Mem hers
                                               (FILED UNDER SEAL)




                             {00205066}                                  s
